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                                      UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TENNESSEE
                                            WESTERN DIVISION




THE ESTATE OF JIM K. SCOTT and
REGINA SCOTT, individually,

                               Plaintiffs,

V.                                                                           Cv. No. 10-2851-Ma

NATIONAL UNION FIRE INSURANCE
COMPANY OF LOUISIANA, d/b/a
NATIONAL UNION FIRE INSURANCE
COMPANY, et al.,

                               Defendants.




                                                     JUDGMENT
     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed
in accordance with the Order Dismissing Case Without Prejudice,
docketed May 8, 2012.


APPROVED:


  s/ Samuel H. Mays, Jr.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE


  May 9, 2012                                                       THOMAS M. GOULD
DATE                                                               CLERK

                                                                    s/   Jean Lee
                                                                   (By) DEPUTY CLERK
